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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:14-CR-3141

vs.                                                        ORDER

RICARDO AGUILAR CISNEROS,

                  Defendant.

      This matter is before the Court on the plaintiff’s Motion to Dismiss
Indictment (filing 29). Pursuant to Fed. R. Crim. P. 48(a), leave of court is
granted for dismissal of the indictment, without prejudice, as it relates to the
above-captioned defendant.

      IT IS ORDERED:

      1.    The plaintiff’s Motion To Dismiss Indictment (filing 29) is
            granted.

      2.    The indictment is dismissed as to defendant Ricardo
            Aguilar Cisneros.

      Dated this 16th day of March, 2015.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
